                 Case 2:25-mj-30430-DUTY ECF No. 1, PageID.1
                                              AUSA:             Filed 07/07/25 Telephone:
                                                      Barbara Lanning            Page 1 of   5 226-9100
                                                                                          (313)
AO 91 (Rev. ) Criminal Complaint            Task Force Officer:     Kylie Churches               Telephone: (313) 202-3400

                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                Eastern District of Michigan
                                                                                       Case: 2:25−mj−30430
United States of America                                                               Assigned To : Unassigned
   v.                                                                                  Assign. Date : 7/7/2025
Frederick Dye                                                             Case No.     Description: RE: FREDERICK DYE
                                                                                       (EOB




                                                  CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of                   July 4, 2025                in the county of               Wayne     in the
       Eastern            District of      Michigan        , the defendant(s) violated:
                  Code Section                                            Offense Description
18 U.S.C. 922(g)(1)                                    Felon in possession of a firearm




         This criminal complaint is based on these facts:
See attached affidavit.




✔ Continued on the attached sheet.

                                                                                          Complainant’s signature

                                                                                     Kylie Churches, Task Force Officer
                                                                                           Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date: July 7, 2025                                                                           Judge’s signature

City and state: Detroit, MI                                                  Hon. David R. Grand, U.S. Magistrate Judge
                                                                                           Printed name and title
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                               AFFIDAVIT

       I, Kylie Churches, being duly sworn, depose and state the following:

I.     INTRODUCTION

       1.    I am a Task Force Officer with the Bureau of Alcohol, Tobacco,

Firearms and Explosive (ATF). I am an “investigative or law enforcement officer of

the United States” within the meaning of Title 18, United States Code, Section

2510(7), and I am empowered by law to conduct investigations and make arrests of

offenses enumerated under Federal law.

       2.    I have been a Task Force Officer (TFO) with ATF since March 2022,

and I have had extensive law enforcement training, including at the Detroit Police

Department Training Center. In addition to being a TFO with the ATF, I have been

employed as a police officer with the City of Detroit for approximately six years. I

also have a bachelor’s degree in criminal justice.

       3.    I make this affidavit from personal knowledge based on my

participation in this investigation, including interviews conducted by myself and/or

other law enforcement officers, communications with others who have personal

knowledge of the events and circumstances described herein, review of reports by

myself and/or other law enforcement officers, and information gained by my training

and experience. This affidavit does not include all the information known to law

enforcement related to this investigation.

       4.    ATF is currently investigating Frederick DYE for being a felon in

possession of a firearm and ammunition, in violation of 18 U.S.C. § 922 (g)(1).
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II.     PROBABLE CAUSE

        5.    On July 4, 2025, at approximately 9:50 p.m., Detroit Police officers

on patrol in the area of Prairie Street and Alaska Street in Detroit, Michigan

observed a group of people in possession of what the officers suspected to be open

intoxicants on a public sidewalk. The officers stopped their vehicle to investigate.

        6.    As the officers approached the group, an individual—later identified

as Frederick DYE—distanced himself from the group and walked towards a

residence. The officers watched DYE bend forward, reach into his waistband, and

make a throwing motion towards the front porch of the residence. The officers

heard a loud thud.

        7.    One officer temporarily detained DYE. A second officer walked to the

front porch where DYE made the throwing motion and recovered a black Beretta,

.380 caliber handgun. Officers placed DYE under arrest. Unprompted, DYE told

the officers that he was carrying “Fred’s gun.”

        8.    On July 7, 2025, I consulted with Special Agent (SA) Kara Klupacs,

an interstate nexus expert. SA Klupacs stated that the Beretta, .380 caliber

handgun, based on the written description provided, without physically examining

it, is a firearm as defined by federal law and was manufactured outside the state of

Michigan and therefore traveled in and affected interstate commerce.




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         9.    I reviewed records related to DYE’s criminal history and learned the

following:

               a.    On or about August 4, 2005, DYE pleaded guilty to one count of

                     felony Controlled Substance—Sell, Distribute, or Dispense in

                     the United States District Court for the Eastern District of

                     Michigan (case number 04-cr-80593). On September 28, 2006,

                     DYE was sentenced to 84 months’ incarceration with the Bureau

                     of Prisons, followed by a term of supervised release.

         10.   Based on my training and experience, defendants are warned of the

maximum penalty when they enter a plea of guilty to a felony. Additionally,

defendants are advised that they are pleading guilty to a felony. Based on the time

DYE spent incarcerated or under supervision as a result of his felony conviction,

and the severity of his conviction, there is probable cause to believe that DYE is

aware of his status as a convicted felon.

III.     CONCLUSION

         11.   Based upon the aforementioned facts stated herein, there is probable

cause to believe DYE, a convicted felon aware of his felony convictions, did

knowingly and intentionally possess a black Beretta, .380 caliber handgun, said

firearm having affected interstate commerce, in violation of 18 U.S.C. § 922(g)(1).

This violation occurred on or about July 4, 2025, in Detroit, Michigan, in the

Eastern District of Michigan.


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                                    Respectfully submitted,



                                    Task Force Officer Kylie Churches
                                    Bureau of Alcohol, Tobacco, Firearms
                                    and Explosives.

Sworn to before me and signed in my presence
and/or by reliable electronic means.


_________________________________
Honorable David R. Grand
United States Magistrate Judge

Dated:   July 7, 2025




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